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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


     UNITED STATES OF AMERICA,

              Plaintiff,

     v.                                                      Case No. 8:04-cr-374-T-30TBM

     FRANKLIN JOSE MORAN-ALARCON,

              Defendant.
                                             /

                                                 ORDER

              THIS CAUSE is before the court on the United States’ Sealed Motion for a

     Hearing Regarding Potential Conflict of Interest (Doc. S-6). A hearing on the motion was

     conducted June 8, 2006. Subsequent to the hearing the court requested Joaquin Perez,

     counsel for the Defendant, provide a supplemental pleading (Doc. S- 10).

              Upon consideration, the court finds that there is no actual conflict of interest

     preventing counsel from continuing to represent Franklin Jose Moran-Alarcon. While I

     believe that there is, at least, a potential for conflict and an appearance of impropriety with

     counsel’s representation of a defendant in a somewhat related proceeding, in all the

     circumstances, I cannot conclude that the potential conflict or the appearance of impropriety

     is such that the court should overrule the Defendant’s desire to have Mr. Perez as his counsel.

     Further, I have conducted a lengthy Garcia hearing with the Defendant who acknowledges his

     understanding of the circumstances and confirms his desire to have Mr. Perez, continue to
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     represent him in this matter. As indicated at the hearing, I find the Defendant has knowingly,

     intelligently, and voluntarily waived any conflicts, potential or otherwise, by reason of Mr.

     Perez’s continued representation.

              Done and Ordered in Tampa, Florida, this 22nd day of June 2006.




     Copies furnished to:
     Counsel of Record




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